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      1    Peter L. Fear
           Chapter 7 Trustee
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           Fresno, California 93729
      3    (559) 464-5295
           trustee@trusteefear.com
      4

      5

      6                               UNITED STATES BANKRUPTCY COURT

      7                    EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION

      8    In re:                                              Case No. 18-14955-B

      9    ROBERT GEORGE BRENNER, JR. AND                      Chapter 7
           LINDA SING BRENNER,
     10                                                        D.C. No. PFT-2

     11                           Debtors.                     Date: May 29, 2019
                                                               Time: 9:30 a.m.
     12                                                        Place: Dept. B, Courtroom 13, 5th Floor
                                                                      United States Courthouse
     13                                                               2500 Tulare St., Fresno, California
                                                               Judge: Hon. Rene Lastreto II
     14

     15

     16     EXHIBIT TO TRUSTEE’S MOTION FOR ORDER AUTHORIZING SALE OF REAL
           PROPERTY OF THE BANKRUPTCY ESTATE SUBJECT TO BETTER AND HIGHER
     17            BID; AND TO PAY COMMISSION TO REAL ESTATE BROKER

     18
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     20
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     21
                 A       Purchase and sale agreement                                                 2
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